
718 S.E.2d 383 (2011)
ESTATE OF Erik Dominic WILLIAMS
v.
PASQUOTANK COUNTY PARKS &amp; RECREATION DEPARTMENT, et al.
No. 231PA11-1.
Supreme Court of North Carolina.
November 9, 2011.
Robert Thomas Numbers, II, Henry W. Gorham, Raleigh, for Pasquotank Co Parks &amp; Rec et al.
Sanford W. Thompson, IV, Raleigh, Samuel B. Dixon, Edenton, Janice M. Cole, Raleigh, for Williams, Erik Dominic (Estate of), et al.
Jerry A. Allen, Jr., Goldsboro, for N.C. Assoc. of EMS Administrators.
Allison B. Schafer, General Counsel, for N.C. School Boards Association.
Wanda M. Copley, County Attorney, for Board of Commissioners of New Hanover County.
*384 Michael C. Frue, Asheville, for Buncombe County.
Leon M. Killian, III, Raleigh, for Haywood County.
Kimberly S. Hibbard, General Counsel, for N.C. League of Municipalities.
Roger Askew, for Wake County.
Fred P. Baggett, Raleigh, for N.C. Association of Chiefs of Police.
Edmond W. Caldwell, Jr., Executive Vice President and General Counsel, for N.C. Sheriffs' Association.
Sharon G. Scudder, for N.C. Association of County Commissioners West Publishing.
The following order has been entered on the motion filed on the 13th of June 2011 by Buncombe County for Leave to File Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 9th of November 2011."
